947 F.2d 942
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Kendall Charles ALEXANDER, Defendant-Appellant.
    No. 91-6605.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 4, 1991.Decided Oct. 28, 1991.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.   Alexander Harvey, II, Senior District Judge.  (CR-87-476;  CR-88-12-H;  CA-91-621-H)
      Kendall Charles Alexander, appellant pro se.
      Breckinridge Long Willcox, United States Attorney, Baltimore, Md., for appellee.
      D.Md.
      AFFIRMED.
      Before WIDENER and MURNAGHAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Kendall Charles Alexander appeals from the district court's order refusing relief under 28 U.S.C. § 2255 (1988).   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   United States v. Alexander, CR-87-476;  CR-88-12-H;  CA-91621-H (D.Md. June 11, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    